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                                                                                       FILED
                                                                           United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                                March 15, 2021
                          _________________________________
                                                                              Christopher M. Wolpert
                                                                                  Clerk of Court
  CATHERINE A. JORITZ,

        Plaintiff - Appellant,
                                                                 No. 20-3234
  v.                                                 (D.C. No. 5:17-CV-04002-SAC-JPO)
                                                                  (D. Kan.)
  THE UNIVERSITY OF KANSAS,

        Defendant - Appellee,

  and

  BERNADETTE GRAY-LITTLE, et al.,

        Defendants.

                          _________________________________

                                       ORDER
                          _________________________________

        This matter is before the court on Appellant Catherine A. Joritz’s Motion for a

 Second 30-Day Extension of Time to File Brief, in which she requests an extension of

 time to and including April 26, 2021, to file the opening brief in this appeal.

        Upon consideration, and at the direction of the court, the motion is granted. The

 opening brief shall be filed and served on or before April 26, 2021. The court will not

 grant any further extensions absent extraordinary circumstances.
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        The court also sua sponte extends the deadline for Appellant to either pay the $505

 filing fee to the district court or file an application for leave to proceed in forma pauperis

 on appeal with this court to April 12, 2021.


                                                Entered for the Court
                                                CHRISTOPHER M. WOLPERT, Clerk


                                                By: Candice Manyak
                                                    Counsel to the Clerk




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